Case 17-31175-SLM           Doc 19      Filed 12/04/17 Entered 12/04/17 18:22:17           Desc Main
                                        Document Page 1 of 2




                                                                       Order Filed on December 4,
                                                                     2017 by Clerk, U.S. Bankruptcy
 UNITED STATES BANKRUPTCY COURT                                       Court - District of New Jersey
 DISTRICT OF NEW JERSEY

 Caption in Compliance with D.N.J. LBR 9004-1(b)




 In Re:                                                     Case No.:              17-31175


                                                            Chapter:              13

    Charles Mound, Jr.
                                                            Hearing Date:         11/29/2017

                                                            Judge:                Stacey L. Meisel


                                     ORDER DENYING MOTION

          The relief set forth on the following pages, numbered two (2) through _____2_____ is
          ORDERED.

DATED: December 4, 2017
Case 17-31175-SLM        Doc 19     Filed 12/04/17 Entered 12/04/17 18:22:17             Desc Main
                                    Document Page 2 of 2
Page 2 of 2
Debtor:                Charles Mound, Jr.
Case No.:              17-31175
Caption of Order:      Order Denying Motion

       THIS MATTER having been brought before the Court on a Motion [to] Extend the

Automatic Stay as to Caliber Home Loans, Roxbury Township, Township of Roxbury Water

(Docket No. 7) (“Motion”) by debtor Charles Mound, Jr. (“Debtor”), by and through his counsel,

Joan Sirkis Warren;

       WHEREAS on October 19, 2017, Debtor filed a voluntary petition under Chapter 13 of

the Bankruptcy Code;

       WHEREAS Debtor had one case pending within the preceding one-year period that was

dismissed (see Case No. 17-20567);

       WHEREAS Debtor filed the Motion on October 20, 2017 and scheduled it for a hearing

on November 29, 2017;

       WHEREAS, under 11 U.S.C. § 362(c)(3), the automatic stay in this case terminated on

the 30th day after Debtor’s filing of the petition, or November 18, 2017, prior to the return date of

the Motion;

       It is hereby

       ORDERED that the Motion is DENIED.
